Case 1:02-cr-00241   Document 525   Filed 01/05/09   Page 1 of 2 PageID #: 2140



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BLUEFIELD

SARITA HURT,

     Plaintiff,

v.                                       CIVIL ACTION NO. 1:05-0955
                                         (Criminal No. 1:02-00241-09)

UNITED STATES OF AMERICA,

     Defendant.


                      MEMORANDUM OPINION AND ORDER

       By Standing Order, this action was referred to United

States Magistrate Judge R. Clarke VanDervort for submission of

findings and recommendations regarding disposition pursuant to 28

U.S.C.A. § 636(b)(1)(B).      Magistrate Judge VanDervort submitted to

the court his Findings and Recommendation on November 24, 2008, in

which he recommended that the District Court dismiss plaintiff’s

motion, and remove this matter from the court’s docket.

       In accordance with the provisions of 28 U.S.C.A. § 636(b),

the parties were allotted ten days, plus three mailing days, in

which to file any objections to Magistrate Judge VanDervort’s

Findings and Recommendation.        The failure of any party to file

such objections constitutes a waiver of such party's right to a de

novo review by this court.      Snyder v. Ridenour, 889 F.2d 1363 (4th

Cir. 1989).

       The parties failed to file any objections to the Magistrate

Judge's Findings and Recommendation within the thirteen-day
Case 1:02-cr-00241   Document 525   Filed 01/05/09    Page 2 of 2 PageID #: 2141



period.    Having reviewed the Findings and Recommendation filed by

Magistrate Judge VanDervort, the court adopts the findings and

recommendations contained therein.         Accordingly, the court hereby

DISMISSES plaintiff’s motion and directs the Clerk to remove this

case from the court’s active docket.

          The Clerk is directed to forward a copy of this Memorandum

Opinion and Order to plaintiff, pro se, and counsel of record.

          IT IS SO ORDERED this 5th day of January, 2009.

                                     ENTER:



                                      David A. Faber
                                      United States District Judge




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